   Case 3:18-cv-00105-N Document 18 Filed 06/06/18                Page 1 of 12 PageID 372


                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF TEXAS

                                     DALLAS DIVISION

 LakeSouth Holdings, LLC,                       §
                                                §
        Plaintiff,                              §
                                                §       Civil Action No. 3:18-CV-00105-N
 v.                                             §
                                                §          JURY TRIAL DEMANDED
 Costco Wholesale Corporation,                  §
                                                §
        Defendant.                              §

                     JOINT INITIAL CASE MANAGEMENT REPORT

       Pursuant to the Court’s May 11, 2018 Order Requiring Status and Scheduling Conference

(Dkt. No. 15), Rules 16(b) and 26(f) of the Federal Rules of Civil Procedure, and this Court’s

Local Rules, counsel for Plaintiff LakeSouth Holdings, LLC (“Plaintiff” or “LakeSouth”), and

counsel for Defendant Costco Wholesale Corporation (“Defendant” or “Costco”) (collectively, the

“Parties”), conferred on May 23, 2018, and on subsequent occasions, and jointly submit the

following Report:



       Paragraph 1 Disclosures:

       (a)     a brief statement of the nature of the case and the contentions of the parties

       This is a case for patent infringement. LakeSouth alleges that Costco, directly, indirectly,

and/or under the doctrine of equivalents, infringe one or more claims of U.S. Patent No. 6,612,713

(“the ’713 Patent”) and U.S. Patent No. 8,794,781 (“the ’781 Patent”) (collectively, the “Patents-

in-Suit”) under the provisions of 35 U.S.C. § 271. The accused infringing products are certain

patio and outdoor solar-powered, lighted umbrellas that LakeSouth alleges are or that have been




                                                                                        Page 1 of 12
   Case 3:18-cv-00105-N Document 18 Filed 06/06/18                 Page 2 of 12 PageID 373


made, used, sold, offered for sale, and/or imported in the United States by Costco. LakeSouth also

contends that Costco’s alleged infringement is willful, and that this case is exceptional under 35

U.S.C. § 285. Accordingly, LakeSouth contends that it is entitled to damages resulting from

Costco’s direct, indirect, and willful infringement. LakeSouth notes that the Patents-in-Suit have

been recently litigated in the Northern District of Texas. On August 10, 2015 in LakeSouth

Holdings LLC v. Ace Evert, Inc., et al., No. 3:14-CV-01348 (N.D. Texas), the Court issued a claim

construction order construing various claim terms of the ’713 Patent. Ace Evert filed a Petition for

Inter Partes Review with the U.S. Patent and Trademark Office. The Ace Evert case is no longer

pending, and the IPR Petition was not acted upon. More recently, the Patents-in-Suit were litigated

in LakeSouth Holdings LLC v. Kohl’s Department Stores Inc., et al., No. 3:16-CV-01024 (N.D.

Texas). That case resolved before a claim construction hearing. Additionally, the Defendants in

that case (Kohl’s and Home Depot) joined third party Yotrio Corporation as petitioners in two

Petitions for Inter Partes Review of the ’713 and ’781 Patents. The PTAB denied institution in

both cases.

       Costco is merely a reseller of the accused product, and it appears that in order to secure

venue in Texas (rather than suing the manufacturer named in the complaint) LakeSouth has filed

this action here. Costco had no knowledge of the patents prior to this action, and has no knowledge

of the development or design of the accused products. Instead, Costco’s knowledge is limited to

the sales of the accused products. Nonetheless, in an effort to defend this wrongly-filed action,

Costco has filed a counterclaim for declaratory judgment of noninfringement and invalidity of the

‘713 and the ‘781 Patents. Costco is not liable for LakeSouth’s claims and that, when successful

on its declaratory judgment claims, LakeSouth shall be liable for Costco’s fees.

       (b)     the status of settlement discussions (excluding any discussion of amounts)




                                                                                         Page 2 of 12
   Case 3:18-cv-00105-N Document 18 Filed 06/06/18                    Page 3 of 12 PageID 374


        The Parties have exchanged certain information, and LakeSouth has presented a proposed

license agreement to Costco in an effort to resolve this case. The Parties agree to continue informal

settlement discussions to determine if the case can be resolved.

        (c)    possible joinder of additional parties

               LakeSouth

        LakeSouth does not currently anticipate joining additional parties, but discovery may

suggest it is necessary.

               Costco

        Costco does not currently anticipate joining additional parties, but is continuing to evaluate

this issue.

         (d)   any anticipated challenges to jurisdiction or venue

        There are currently no challenges to jurisdiction or venue.

        (e)    date by which the case will be ready for trial and estimated length of trial

               LakeSouth

        LakeSouth contends that this case can be ready for trial beginning in May 2019. As

currently constituted, LakeSouth estimates that trial should last no more than three trial days.

        LakeSouth contends that a trial track of one year is reasonable in this particular case

because the technology at issue is very simple, and there should be very few claim construction

issues, particularly given that this Court previously issued a Markman order in the Ace Evert case.

               Costco

        Costco contends that this case can be ready for trial beginning in May 2020. As currently

constituted, Costco estimates that trial should last no more than five trial days.




                                                                                           Page 3 of 12
   Case 3:18-cv-00105-N Document 18 Filed 06/06/18                  Page 4 of 12 PageID 375


       Costco contends that a trial track of two years is reasonable in this particular case because

the accused products are sourced from a third party, the manufacturer of which is believed to be

located outside the United States. Costco has no knowledge of the details of the accused products,

nor is it responsible for obtaining such information from the manufacturer. As such, it is likely that

the bulk of discovery will be from third parties, which will greatly lengthen the action.

Furthermore, the lengthy prosecution history related to the ‘713 and ‘781 Patents complicates the

issues surrounding infringement, validity and claim construction are far beyond a typical case.

Costco believes a prior Markman decision in a case with an unrelated defendant is irrelevant to

this action. This Court is not bound by the prior Markman and Costco must be afforded the

opportunity to litigate its claims. See, e.g. Tex. Instruments, Inc. v. Linear Techs. Corp., 182 F.

Supp. 2d 580, 589 (E.D. Tex. 2002).

        (f)    the desirability of ADR, and the timing for ADR

               LakeSouth

       LakeSouth anticipates the Parties will continue their negotiations in an attempt to resolve

this matter. LakeSouth is unopposed to mediating with a court-appointed mediator.

               Costco

       Costco anticipates the Parties will continue their negotiations in an attempt to resolve this

matter. Costco is unopposed to mediating with a court-appointed mediator after sufficient time for

discovery.

       (g)     any objections to disclosure under Rule 26(a)(1)

               LakeSouth

       LakeSouth does not object to making the disclosures required by Rule 26(a)(1).

               Costco




                                                                                           Page 4 of 12
   Case 3:18-cv-00105-N Document 18 Filed 06/06/18                Page 5 of 12 PageID 376


       Costco does not object to making the disclosures required by Rule 26(a)(1).



       Paragraph 2 Disclosures:

       (1)     Proposed modification of the deadlines provided for in Miscellaneous Order
               No. 62 ¶ 2-1, and the effect of any such modification on the date and time of
               the claim construction hearing, if any

               LakeSouth

       LakeSouth does not currently believe that any modification to the deadlines provided for

in Miscellaneous Order No. 62 ¶ 2-1 is necessary.

               Costco

       Costco contends the deadline for the disclosure pursuant to ¶3-3 should be delayed by 30

days (75 days after service of preliminary infringement contentions), and further proposes a delay

of the exchange of terms under ¶4-1 for 46 days (60 days after the service of invalidity

contentions). All subsequent deadlines would be pushed back accordingly.

       (2)     Electronic discovery plan

       The Parties have conferred regarding a proposed electronic discovery plan and have agreed,

subject to the Court’s approval, on the form attached at Exhibit A.

       (3)     The need for presenting technical tutorials to the presiding judge and the mode
               for presenting same

               LakeSouth

       LakeSouth contends that no technology tutorial is necessary in this matter.

               Costco

       Costco agrees that no technology tutorial is necessary in this matter.

        (4)    Deviations from and additions to the protective order

       This Court has already entered a Protective Order in this case. See Dkt. No. 11.



                                                                                          Page 5 of 12
   Case 3:18-cv-00105-N Document 18 Filed 06/06/18                 Page 6 of 12 PageID 377


       (5)     Whether either party desires the presiding judge to hear live testimony at the
               claim construction hearing

               LakeSouth

       LakeSouth does not currently consider live testimony necessary for the claim construction

hearing.

               Costco

       Costco does not currently consider live testimony necessary for the claim construction

hearing, though discovery is needed to make a final determination.

       (6)     The need for and any specific limits on discovery relating to claim
               construction, including depositions of witnesses, including expert witnesses

               LakeSouth

       LakeSouth does not require any specific limits on discovery relating to claim construction,

and is amenable to proceeding according to any limitations on discovery provided by the Federal

Rules of Civil Procedure.

               Costco

       Costco agrees with the LakeSouth on this issue.

       (7)     The order of presentation at the claim construction hearing

               LakeSouth

       To the extent that a hearing is held, LakeSouth contends that a term-by-term presentation

is best, and that for each term the Plaintiff should proceed first, followed by the Defendant, and

concluding with Plaintiff’s brief rebuttal, and any additional rebuttals the Court deems helpful.

               Costco

       Costco agrees with the LakeSouth on this issue.

       (8)     The scheduling of a claim construction prehearing conference between
               attorneys to be held after the filing of the joint claim construction and
               prehearing statement required by paragraph 4-3


                                                                                         Page 6 of 12
   Case 3:18-cv-00105-N Document 18 Filed 06/06/18                  Page 7 of 12 PageID 378


               LakeSouth

       LakeSouth does not believe that a pre-hearing conference is necessary.

               Costco

       Costco agrees with the LakeSouth on this issue.

       (9)     Whether the presiding judge should authorize the filing under seal of any
               documents containing confidential information

               LakeSouth

       LakeSouth believes that this Court should authorize electronic filing under seal.

               Costco

       Costco agrees with the LakeSouth on this issue.

       (10)    The need for any deviation from the ordinary practice of early and late
               mediations, as well as the potential dates for early and late mediations

               LakeSouth

       LakeSouth is not opposed to the ordinary practice of an early and late mediation.

               Costco

       Costco agrees with the LakeSouth on this issue, but believes the early mediation should

not occur until at least after disclosure of preliminary contentions.

       Discovery Plan:

       (a)     Changes in timing

               LakeSouth

       LakeSouth does not currently believe that any changes to the deadlines set forth in

Miscellaneous Order No. 62 are necessary.

               Costco

       For the reasons set forth above, Costco contends the following deadlines should be changed

as set forth above.


                                                                                       Page 7 of 12
Case 3:18-cv-00105-N Document 18 Filed 06/06/18               Page 8 of 12 PageID 379




   (b)    Subjects on which discovery may be needed

          LakeSouth

   LakeSouth requires discovery regarding at least the following subjects:

          (1)    Costco’s and related third-parties’ actions relating to LakeSouth’s direct
                 and indirect infringement claims;

          (2)    the conception, design, production, marketing, distribution, use, sale, offer
                 for sale, and importation of the accused infringing products, including
                 reasonably similar products;

          (3)    the extent of third parties’ involvement in the conception, design,
                 production, marketing, distribution, use, sale, offer for sale, and importation
                 of the accused infringing products, including reasonably similar products;

          (4)    Costco’s actual notice, constructive notice, and/or knowledge of
                 LakeSouth, World Factory, Inc., the Patents-in-Suit, patents and patent
                 applications relating thereto, and LakeSouth’s licenses or licensed products;

          (5)    financial information relating to Costco and the accused products, including
                 reasonably similar products;

          (6)    Costco’s patent licenses and settlement agreements, including those related
                 to the accused products and reasonably similar products;

          (7)    corporate structure of Costco and information relating to Costco and its
                 related companies;

          (8)    Costco’s relationship and communications with its manufacturers,
                 suppliers, customers, and related entities;

          (9)    all documents and things including alleged prior art that Costco is aware of
                 and/or that it may rely on in support of its defenses and/or counterclaims or
                 to rebut LakeSouth’s claims;

          (10)   Costco’s actions relating to LakeSouth’s willful infringement allegations;

          (11)   Costco’s use, sale, offer for sale, and importation of the accused infringing
                 products, including reasonably similar products;

          (12)   evidence relating to secondary considerations of non-obviousness;




                                                                                     Page 8 of 12
   Case 3:18-cv-00105-N Document 18 Filed 06/06/18                  Page 9 of 12 PageID 380


               (13)     Costco’s and third parties’ actions, documents, and things including
                        licenses and other agreements relevant to damages, including the
                        determination of a reasonable royalty;

               (14)     the bases for Costco’s counterclaims, defenses, and statements set forth in
                        its Answer, including any amendments thereto;

               (15)     Costco’s claim construction positions;

               (16)     Costco’s invalidity contentions and bases thereof;

               (17)     patents that Costco contends cover or are practiced by the accused
                        infringing products; and

               (18)     Costco’s communications and involvement with any third parties relating
                        to the foregoing subjects of discovery.

               Costco

               (1)      the basis for LakeSouth’s direct and indirect infringement claims;

               (2)      the conception, design, and reduction to practice of the alleged inventions;

               (3)      evidence related to any factor in the Georgia Pacific analysis;

               (4)      the basis for LakeSouth’s claims of willfulness;

               (5)      financial information relating to LakeSouth and licensing of products
                        alleged within the scope of the asserted patents;

               (6)      LakeSouth’s claim construction positions;

               (7)      all prior art known by LakeSouth, including all prior art disclosed by third
                        parties;

               (8)      royalties received by LakeSouth for the licensing of the asserted patents;

       (c)     Disclosure of electronically stored information

       The Parties have conferred regarding a proposed electronic discovery plan and have agreed,

subject to the Court’s approval, on the form attached at Exhibit A.

        (d)    Privilege issues

       The Parties will comply with the Federal Rules of Civil Procedure, including Rule 26,

regarding privilege issues. The Parties agree that Federal Rule of Evidence 502, including Rule


                                                                                          Page 9 of 12
  Case 3:18-cv-00105-N Document 18 Filed 06/06/18                   Page 10 of 12 PageID 381


502(b), shall govern any inadvertent waiver of attorney-client privilege or attorney work product.

Furthermore, the Parties have agreed to the following:

               (1)      Documents created after the filing of the Original Complaint in this case
                        should not be logged.

               (2)      Communications between or among the Parties and their current or prior
                        litigation counsel (including their agents, e.g., paralegals) in this or prior
                        patent infringement cases do not need to be logged unless a third-party was
                        a sender or recipient of the communication.

               (3)      To the extent that the Parties use keyword searches for the production of
                        emails, only emails that are responsive to one or more keywords need to be
                        reviewed for purposes of deciding whether it should be logged.

        (e)    Limitations on discovery

               LakeSouth

       LakeSouth will comply with the discovery limitations set forth in the Federal Rules of Civil

Procedure and does not contend that any changes to the Court’s standard limitations are necessary.

               Costco

       Costco believes that discovery conducted by LakeSouth as to Costco should be limited to

the sales of the accused products and the basis for the counterclaims. To the extent LakeSouth

seeks information regarding the development, design, engineering, or manufacturing of the

accused products, such discovery should necessarily be requested from third parties.



       (f)     Other orders that this Court should issue

               LakeSouth

       LakeSouth contends that no additional orders are required at this time. However, in the

event that discovery reveals that certain suppliers of the accused products are located in foreign

countries such as China that would require LakeSouth to pursue discovery from foreign entities,




                                                                                          Page 10 of 12
  Case 3:18-cv-00105-N Document 18 Filed 06/06/18                 Page 11 of 12 PageID 382


LakeSouth could seek assistance and/or additional orders from the Court to facilitate the taking of

foreign discovery.

               Costco

       Costco agrees with the LakeSouth that no other orders need to be issued at this time.

Dated: June 6, 2018                                  Respectfully submitted,



                                                     ___________________________
                                                     Eric M. Albritton, Attorney-in-Charge
                                                     Texas Bar No. 00790215
                                                     Andrew J. Wright
                                                     Texas Bar No. 24063927
                                                     NELSON BUMGARDNER ALBRITTON P.C.
                                                     3131 West 7th Street, Suite 300
                                                     Fort Worth, Texas 76107
                                                     817.377.9111
                                                     ema@nbafirm.com
                                                     andrew@nbafirm.com

                                                     Shawn Latchford
                                                     Texas Bar No. 24066603
                                                     NELSON BUMGARDNER ALBRITTON P.C.
                                                     111 West Tyler Street
                                                     Longview, Texas 75601
                                                     903.757.8449 (phone)
                                                     903.758.7397 (facsimile)
                                                     shawn@nbafirm.com

                                                     Anthony K. Bruster
                                                     Texas Bar No. 24036280
                                                     BRUSTER PLLC
                                                     680 North Carroll Avenue, Suite 110
                                                     Southlake, Texas 76092
                                                     817.601.9564
                                                     akbruster@brusterpllc.com

                                                     Counsel for Plaintiff
                                                     LakeSouth Holdings LLC




                                                                                       Page 11 of 12
  Case 3:18-cv-00105-N Document 18 Filed 06/06/18                Page 12 of 12 PageID 383


                                                    /s/ Karen Fitzgerald (by permission)
                                                    Karen K. Fitzgerald
                                                    Texas Bar No. 11656750
                                                    JOHNSTON TOBEY BARUCH PC
                                                    3308 Oak Grove Avenue
                                                    Dallas, Texas 75204
                                                    214.741.6260
                                                    karen@jtlaw.com

                                                    Jeffrey Thomas Breloski
                                                    Georgia Bar No. 858291
                                                    Admitted Pro Hac Vice
                                                    ATLAWIP LLC
                                                    2065 Compton Way
                                                    Johns Creek, Georgia 30022
                                                    678.667.3491
                                                    jbreloski@ATLawip.com


                                                    Counsel for Defendant
                                                    Costco Wholesale Corporation


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has been
delivered to all counsel of record on this the 6th day of June, 2018.


                                                    ___________________________
                                                    Eric M. Albritton




                                                                                      Page 12 of 12
